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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,           Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY           MDL No. 3014
LITIGATION
                                        (Oral Argument Requested)
This Document Relates to:

Second Amended Master Long Form
Complaint For Personal Injuries And
Damages, And Demand For Jury Trial
(ECF No. 2505)



     REPLY MEMORANDUM IN FURTHER SUPPORT OF PHILIPS RS NORTH
                AMERICA LLC’S MOTION TO DISMISS

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       Philips RS North America LLC (“Respironics”) moved to dismiss (ECF No. 2574)

(“MTD”) certain claims asserted in Plaintiffs’ second amended personal injury complaint (ECF

No. 2505) (the “PISAC”). Plaintiffs’ Opposition (ECF No. 2714) (“Opp.”) concedes that several

of those claims are subject to dismissal and fails to salvage the remaining claims.

                                           ARGUMENT

I.     PLAINTIFFS’ NEGLIGENT RECALL/FAILURE TO RECALL CLAIMS FAIL.

       A.      The Negligent Execution of/Failure to Recall Claims Are Preempted.

       Plaintiffs assert three arguments to avoid preemption of their recall-related claims. None

have merit. First, they cite express preemption cases to argue that preemption may not be resolved

on the pleadings. Opp. at 2. But Respironics’ arguments are grounded in implied, not express,

preemption. This Court and others have held that implied preemption is a basis for dismissal under

Rule 12(b)(6) where, as here, the grounds for preemption are alleged in the complaint. Buckman

Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 347-48 (2001); Bell v. Boehringer Ingelheim

Pharms., Inc., No. CV 17-1153, 2018 WL 2447788 at *6 (W.D. Pa. May 31, 2018) (Conti, J.).

       Second, on negligent failure to recall, Plaintiffs disregard National Women’s Health

Network, Inc. v. A. H. Robins Co. on the grounds that plaintiffs there sought remedial injunctive

relief, not monetary damages like here. 545 F. Supp. 1177 (D. Mass. 1982). But Robins

specifically noted that the FDCA “does not afford a right of action for damages.” Id. at 1179.

Further, in analyzing the legislative history, the court in Robins set out that:

       [T]he Secretary [of the FDA] should have considerable discretion in determining
       whether or not users of devices must be notified of defects in any given case” and
       that such discretion “would be eliminated by the private right of action” and “the
       major advantages of enforcement through the Secretary would be lost, including
       expertise, ability to solicit comment from appropriate sources, direct representation
       of the public interest, and a unitary enforcement policy.

Id. at 1179-80. As such, “state law [claims] which would put these same powers in other hands
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must be deemed foreclosed.” Id. at 1181. In other words, Plaintiffs’ claim would obstruct the

FDA’s discretion as to when to seek a recall and impose additional conditions not contemplated

by the federal regime.1

       Third, on the negligent recall claim, Plaintiffs notably omit analysis of “obstacle”

preemption, which was the basis for the holding in Cohen v. Subaru of America, Inc. that “applying

negligence law of more than twenty states . . . would undermine the [federal regulations]’s

comprehensive statutory scheme for commencing and carrying out recalls.” 2022 WL 721307, at

*40 (D.N.J. Mar. 10, 2022). Cohen thus reflects that the imposition of unspecified state law duties

stands as an obstacle to the FDA’s regulatory framework for assessing and overseeing the recall

process. Id. Plaintiffs invoke 21 U.S.C. § 360h(d)’s savings clause, but section 360h(d) is not

implicated here because the recall was undertaken voluntarily, not pursuant to any order. See Bush

v. Thoratec Corp., 837 F. Supp. 2d 603, 607 (E.D. La. 2011) (section 360h(d) controls only when

“[c]ompliance with an order issued under this section [is implicated]” (emphasis in original)).2

       B.      Primary Jurisdiction Bars Plaintiffs’ Negligent Execution of the Recall Claim.

       The FDA has exclusive authority over the execution of the recall, implicating the primary

jurisdiction doctrine and barring Plaintiffs’ negligent execution of the recall claim. See MTD at

3-6. To evade this outcome, Plaintiffs mischaracterize their claim and disregard the FDA’s active

and continuing oversight of the recall. See Opp. at 5-8. Plaintiffs’ arguments lack merit.



1
  Contrary to their assertion, Opp. at 3 n.7, Plaintiffs’ claims do not fit into the “narrow gap” for
avoiding preemption that was articulated in Respironics’ prior briefing. Without identifying
specific duty that gives rise to Plaintiffs’ recall-related claims, their broad-stroke allegations do
not demonstrate that their claims are based on state law duties, rather than violations of the FDCA.
2
  The subsequent notification order under section 518(a) of the FDCA is not relevant to Plaintiffs’
section 360h(d) argument. The existence of the section 518(a) notification order, however,
reinforces the propriety of dismissal on primary jurisdiction grounds, infra at Section I.B. Further,
section 360h(d) “‘could not possibly mean that all state-law claims are not pre-empted . . . .’”
Riegel v. Medtronic, Inc., 552 U.S. 312, 325 n.4 (2008).


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       Contrary to Plaintiffs’ assertions, Plaintiffs request both monetary and equitable damages

under their negligent recall claim. See PISAC ¶ 442. Thus, as plainly alleged, this is not a claim

for which “Plaintiffs seek only money damages.” Opp. at 6. Next, Plaintiffs urge the court to

bypass the four Baykeeper factors because “the delay occasioned by abstention would be costly

and inefficient.” Id. In support of this argument, Plaintiffs rely exclusively on out-of-circuit cases

that, in any event, are readily distinguishable.3 Unlike in those cases, here, the FDA’s active

oversight of the voluntary recall is both material and ongoing.4

       As to the first and second Baykeeper factors, Plaintiffs urge the Court not to defer to the

FDA because their negligent execution of the recall claim “does not require specific expertise.”

Opp. at 7. But the regulations cited in the MTD squarely contradict that assertion and, indeed, the

Consent Decree reflects the FDA’s continuing active oversight of Respironics’ recall efforts—

aspects of which are committed to the FDA’s “sole discretion” and cannot proceed without the

FDA’s written approval. See, e.g., Consent Decree at 9, 12, 14, 23. Plaintiffs’ reliance on In re

Valsartan, Losartan, & Irbesartan Prod. Liab. Litig., 2020 WL 7418006 (D.N.J. Dec. 18, 2020),

is misplaced as the court there did not consider any recall claims as part of its primary jurisdiction

analysis.5 As to the third and fourth factors, Plaintiffs claim “[t]here is no risk of inconsistent

rulings,” Opp. at 7, but this is wrong given the Consent Decree outlines specific procedures that

Respironics must follow in carrying out the recall plan. And though Plaintiffs seek to temper their



3
  See White v. Beech-Nut Nutrition Co., No. 23-220-cv, 2024 WL 194699, at *2 (2d Cir. Jan. 18,
2024) (declining to apply primary jurisdiction where the FDA “abandoned” its plans to finalize
action levels for the chemicals at issue); In re Trader Joe’s Co. Dark Chocolate Litig., No. 3:23-
CV-0061-RBM-KSC, 2024 WL 1319725, at *15 (S.D. Cal. Mar. 27, 2024) (pointing to the
uncertainty of FDA action as a reason for declining to abstain based on primary jurisdiction).
4
  Respironics recently agreed to a consent decree with the DOJ and FDA that outlines the FDA’s
continued involvement in the recall. See United States v. Philips RS N. Am. LLC, No. 2:24-cv-
00505-RJC (W.D. Pa.) (Colville, J.) (ECF No. 4-1) (“Consent Decree”).
5
  Plaintiffs’ reliance on section 360h(d) is also misplaced as discussed above. Supra p.2.


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concession that the fourth factor favors abstention by citing to Cohen, their reliance on that case is

unavailing. Cohen states that initiation of a recall “alone is insufficient to justify abstention,” 2022

WL 721307, at *37 (emphasis added), but all factors weigh in favor of abstention here.

       C.      Negligent Failure to Recall Is Not a Cause of Action in Two States.

       There is no extra-statutory duty to recall under Illinois and Oklahoma law. See MTD at 6

n.4. Plaintiffs incorrectly rely on cases that consider recall allegations in the context of a general

negligence claim, not a negligent failure to recall claim. See Opp. at 8.

II.    NEGLIGENCE PER SE IS NOT A CAUSE OF ACTION IN FOUR STATES.

       Delaware, Oregon, Rhode Island, and Wisconsin do not recognize negligence per se as an

independent claim. MTD at 6 n.5. Plaintiffs concede the point under Rhode Island law. Opp. at

8 n.12. Plaintiffs also concede that in Delaware, Oregon, and Wisconsin, negligence per se is

subsumed within a cause of action for negligence, id. at 8 n.13, and Plaintiffs’ cases affirm that

point.6 Plaintiffs’ purported negligence per se claims under the laws of these states fail.7

III.   STATE PRODUCT LIABILITY ACTS SUBSUME CERTAIN CLAIMS.

       Plaintiffs continue to argue unsuccessfully that certain common law claims are not

subsumed by state product liability acts. First, in support of their Indiana breach of warranty

claims Plaintiffs rely solely on Valsartan and fail to contend with subsequent caselaw

distinguishing between breach of warranty claims (referenced in Valsartan) seeking economic

damages, which are not subsumed, and breach of warranty claims like those here seeking only


6
   See Price v. Blood Bank of Del., Inc., 790 A.2d 1203, 1213 (Del. 2002) (negligence per se
“standing alone, does not establish liability”); Phelps v. Wyeth, Inc., 938 F. Supp. 2d 1055, 1076
(D. Or. 2013) (negligence per se is one element “under a common-law theory of negligence”);
Kurer v. Parke, Davis & Co., 679 N.W.2d 867, 874-75 (Wis. Ct. App. 2004) (“A safety statute
merely establishes a minimum standard of care[.]”) (citation omitted).
7
  Respironics did not waive its challenge to Plaintiffs’ claim for negligence per se under Delaware
law. See, e.g., Penn-Mont Benefit Servs., Inc. v. Crosswhite, No. CIV.A. 02-1980, 2003 WL
203570, at *6 (E.D. Pa. Jan. 29, 2003).


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personal injury damages, which are subsumed. See Palm v. Taurus Int’l Mfg., Inc., No. 22-CV-

337, 2022 WL 17714600, at *4-5 (N.D. Ind. Dec. 15, 2022). Second, Plaintiffs assert that their

fraud claims are not subsumed by the OPLA, but the OPLA governs common law fraud claims

alleging a failure to warn like Plaintiffs’ “fraud by omission” claims here. See Statford v.

SmithKline Beecham Corp., No. 2:07–CV–639, 2008 WL 2491965, at *8 (S.D. Ohio Jun. 17,

2008). Third, the limited circumstances cited by Plaintiffs where Indiana, Mississippi, and New

Jersey consumer protection claims have not been subsumed by those PLAs do not apply here. See,

e.g., Sun Chem. Corp. v. Fike Corp., 235 A.3d 145, 155 (N.J. 2020) (holding that NJPLA and

consumer protection claims may only co-exist when they “alleg[e] different theories of liability

and seek[] dissimilar damages.”).8 Plaintiffs try to recover under the PLAs for alleged failure to

warn, negligent failure to warn, common law fraud by omission, and negligent misrepresentation.

See, e.g., PISAC ¶¶ 1802-03. Those theories and requested damages squarely overlap with

Plaintiffs’ claims under various state consumer protection acts.9

IV.    PLAINTIFFS IMPROPERLY ASSERT THEORIES OF LIABILITY
       UNAVAILABLE UNDER FOUR STATES’ PRODUCT LIABILITY STATUTES.

       Plaintiffs’ claims under four states’ PLAs improperly seek to recover on theories of liability

not available under those statutes including medical monitoring under all four PLAs, and negligent

failure to recall and negligent recall under the Louisiana, New Jersey, and Ohio PLAs. MTD at 8.

Additionally, Plaintiffs’ theories of liability premised on fraud, implied warranty, and consumer

protection claims under Louisiana law and fraud claims under Ohio and New Jersey law cannot be



8
   See also Nelson v. C.R. Bard, Inc., 553 F. Supp. 3d 343, 349 (S.D. Miss. 2021); Elward v.
Electrolux Home Prods., Inc., 264 F. Supp. 3d 877, 892 (N.D. Ill. 2017).
9
   Contrary to Plaintiffs’ argument, Respironics did not waive its argument with respect to the
Indiana PLA claim, and in any event the Third Circuit has routinely upheld district courts’
decisions permitting new arguments to be raised on successive motions to dismiss. See, e.g., Hart
v. City of Phila., 779 F. App’x 121, 125 (3d Cir. 2019).


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asserted as theories of liability under those states’ PLAs.10

V.     PLAINTIFFS’ FRAUD CLAIM MUST BE DISMISSED UNDER THE LAWS OF
       THIRTEEN STATES FOR FAILURE TO PLEAD A SPECIAL RELATIONSHIP.

       Plaintiffs acknowledge their failure to plead a confidential or fiduciary relationship with

Respironics under 13 states’ laws that require such a relationship, and Plaintiffs’ arguments that

they satisfy exceptions to this pleading requirement fail. First, Plaintiffs’ contention that Georgia

and Maryland recognize a purported “partial disclosure” exception is not supported by Plaintiffs’

case law. See Opp. at 10.11 For the remaining states, the cases Plaintiffs cite are inapposite because

they involve a direct interaction and/or relationship between plaintiff and defendant rather than a

remote manufacturer and a consumer as here. Id.

       Second, even assuming arguendo that such exception existed in any of the 13 states, the

exception does not apply because Plaintiffs have not pled any “partial disclosure” concerning the

safety of the foam much less other required elements. Opp. at 10.12 The marketing and other

materials quoted in the PISAC do not include any “partial disclosure” about the safety of the foam;

rather, they are all of a type deemed mere puffery by courts.13 Id. (citing PISAC ¶¶ 86, 235-36,


10
    Even if Rule 12(b)(6) does not typically allow for the dismissal of only part of a claim, the
unique procedural posture of this case requires otherwise. Allowing Plaintiffs to retain
impermissible PLA theories of liability in the PISAC will only result in individual plaintiffs
bringing deficient PLA claims in the future.
11
   Jordan v. Flynt, 240 S.E.2d 858, 863 (Ga. 1977) did not consider a duty to speak in the context
of omission-based fraud. Brass Metal Prod., Inc. v. E-J Enters., Inc., 984 A.2d 361 (Md. Ct. Spec.
App. 2009) did not consider whether a duty to disclose may exist absent a fiduciary/confidential
relationship, or whether partial disclosure could give rise to such a relationship.
12
   See, e.g., Costa v. FCA US LLC, 542 F. Supp. 3d 83, 100–02 (D. Mass. 2021) (partial disclosure
exception unavailable where plaintiff “ha[d] not identified a partial or ambiguous statement”).
Plaintiffs also assert that all states recognize another two exceptions but do not discuss those
exceptions. See Opp. at 10. If Plaintiffs, by referencing to their prior briefing, are attempting to
argue that certain states recognize additional exceptions, those exceptions do not apply here. See
Respironics’ Citation Table C(1) (ECF 1827).
13
   See, e.g., Castrol, Inc. v. Pennzoil Co., 987 F.2d 939, 945 (3d Cir. 1993); Fusco v. Uber Tech.,
Inc., Civ. A. No. 17-00036, 2018 WL 3618232, at *6–7 (E.D. Pa. Jul. 27, 2018) (collecting cases);
accord Johnson v. Draeger Safety Diag., Inc., 594 F. App’x 760, 766–67 (3d Cir. 2014).


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549-54, 564). Nor can Plaintiffs rely on Respironics’ purported statements from 2020 regarding

whether the use of SoClean products would void available warranties. These alleged statements

did not address the safety of PE-PUR foam, and the PISAC lacks allegations concerning Plaintiffs’

use of SoClean products in reliance on these alleged statements. Id. (citing PISAC ¶¶ 237–42).

VI.    PLAINTIFFS’ CONSUMER PROTECTION CLAIMS FAIL.

       A.      16 Consumer Protection Statutes Do Not Cover Prescription Medical Devices.

       In White v. Wyeth, the West Virginia Supreme Court held: “Prescription drug cases are not

the type of private causes of action contemplated under the terms and purposes of the WVCCPA

because the consumer can not and does not decide what product to purchase.” 705 S.E.2d 828,

838 (W. Va. 2010) (emphasis added). The same applies to prescription medical devices. See, e.g.,

Golden, M.D. v. Brown, M.D., No. 17CV30568, 2017 WL 4239015, at *3 (Colo. Dist. Ct. Sep. 24,

2017) (holding Colorado Consumer Protection Act “does not apply to medical device claims.”).

       The 16 statutes at issue apply only to goods for “personal, family, or household use,”

which FDA-regulated, physician-prescribed medical devices are not. See MTD at 10–13.14

Plaintiffs attempt to manufacture a distinction between implantable devices and medical devices

that a patient obtains pursuant to the doctor’s prescription. Opp. at 12 & n.20. But this distinction

has no basis in the statutes’ context, wording, or purpose, and notably, Plaintiffs cannot cite a

single case supporting it. Instead, Plaintiffs rely on a handful of outlier decisions, which, in

addition to being wrongly decided per White, do not even concern medical devices, let alone


14
    See, e.g., Otis-Wisher v. Medtronic, Inc., 616 F. App’x 433, 435 (2d Cir. June 9, 2015) (medical
device “not available for consumer purchase”); Collins v. Davol, Inc., 56 F. Supp. 3d 1222, 1232
(N.D. Ala. 2014) (medical devices are not “goods that are used or bought for use primarily for
personal, family, or household purposes”); Pease v. Abbott Lab’ys, Inc., No. CIV. 12-1844, 2013
WL 174478, at *2 (D. Md. Jan. 16, 2013) (prescription drug “selected by [plaintiff’s] physician[,].
. . not as a consumer good, but as part of her course of medical treatment”); see also Reeves v.
PharmaJet, Inc., 846 F. Supp. 2d 791, 799 (N.D. Ohio 2012) (“prescription medical device “is not
a good for personal, family or household use[.]”).


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address whether such devices are “personal, household, or family goods.” Opp. at 12.15 Plaintiffs

further cite the R&R (ECF No. 2271 at 92-105),16 but the R&R analyzed cases applying consumer

protection statutes to prescription drugs, not medical devices. Even as to drugs, none of those

cases analyzed whether a prescription drug is a consumer good.17

       Despite this Court’s admonition that federal courts “interpret, not expand, state law[,]”

MTD at 11 & n.18, Plaintiffs argue that an Erie analysis regarding “whether the Recalled Devices

fit within the definition of a governing state statute” is unnecessary. Opp. at 12. Instead, they

posit that “the broad scope” of five of the 16 statutes at issue is sufficient to let claims that would

not be cognizable by reference to the definitions in the cited statutes stand. Id. (citing R&R at 92–

105).18 But where the states’ highest courts have not addressed whether a drug or device is a

consumer good under these statutes, and other courts have held that medical devices are not

consumer goods as defined by the consumer protection statutes or analogous consumer protection

laws, Erie compels a different analysis and result. See, e.g., Otis-Wisher, 616 F. App’x at 435.

       Simply put, for this Court to ignore that these statutes’ scope is limited to claims concerning



15
    Plaintiffs argue the “key distinction” is that “Recalled Devices are sold to the user as the
consumer whereas the surgical items are sold to the surgeon or dentist,” Opp. at 12 (citing In re
Bextra & Celebrex Mktg. Sales Pracs., 495 F. Supp. 2d 1027, 1037 (N.D. Cal. 2007)), but the
drugs in Bextra were not even “sold to the user as the consumer.” Id. (emphasis added).
16
   In considering the West Virginia consumer protection statute, the R&R acknowledged White,
but cited West Virginia ex rel. McGraw v. Bristol Myers Squibb Co., No. 13-1603, 2014 WL
93569, at *6 (D.N.J. Feb. 26, 2014), to inappropriately cabin that decision. R&R at 103-04.
McGraw simply stated that “White’s decision is limited to private causes of action.” Id. This
matter, of course, is a private cause of action, so McGraw did not limit the relevant application of
White, nor could it have because it was not decided by the West Virginia Supreme Court.
17
   See In re Vioxx Class Cases, 103 Cal. Rptr. 3d 83 (Cal. Ct. App. 2009) (R&R at 95); Plubell v.
Merck & Co., Inc., 289 S.W.3d 707 (Mo. Ct. App. 2009) & Polk v. KV Pharm. Co., No. 09-CV-
00588, 2011 WL 6257466 (E.D. Mo. Dec. 15, 2011) (R&R at 100). Other R&R “drug” cases
address non-prescription drugs or were brought by private or public insurers, who make a choice,
not available to a patient, regarding which drug to purchase or put on their formulary.
18
   Plaintiffs acknowledge the R&R did not analyze the scope of the Kentucky and Illinois statutes,
but state, without support, “such an analysis should produce the same result.” Opp. at 11 n.19.


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the “personal, family, or household use” of goods, because goods or commerce is broadly

defined, is to “interpret[] the language in such a way that one clause is rendered superfluous or

meaningless for the benefit of another.” Orson, Inc. v. Miramax Film Corp., 79 F.3d 1358, 1374

(3d Cir. 1996). Further, in interpreting consumer protection statutes with the same language found

in West Virginia’s statute and others, this Court should consider how “other state supreme courts

that have addressed the issue” as well as “federal courts interpreting that state’s laws[.]” Seaman

v. Colvin, 145 F. Supp. 3d 421, 426 (E.D. Pa. 2015). Thus, decisions like White, Otis-Wisher,

Collins, and Pease19 may not be set aside, and the consumer protection claims at issue here fail.

       B.      Omissions Cannot Support Wisconsin Deceptive Trade Practices Act Claims.

       Plaintiffs contend that a Wisconsin DTPA claim is available when “partial statements . . .

are rendered misleading by the omission of known facts.” Opp. at 14. However, as explained in

Section V, supra, Plaintiffs’ Wisconsin DTPA claim still fails under this rule because a review of

the PISAC’s allegations reveals that purported “partial disclosures” are nothing of the sort—they

are not affirmative statements but amount to puffery that neither concerned nor addressed the

safety of the foam. Tietsworth v. Harley-Davidson, Inc., 677 N.W.2d 233, 246 (Wis. 2004).

       C.      Seven Consumer Protection Claims Fail for Lack of Prerequisites to Suit.

       Five consumer protection claims should be dismissed because Plaintiffs (i) failed to

provide statutorily required timely and compliant pre-suit notice; (ii) did not attempt to resolve

their Mississippi CPA claim through a statutorily mandated informal dispute settlement program;

and (iii) waived their Alabama DTPA claim. MTD at 13-15, nn.27-30. Plaintiffs conclusorily


19
    Respironics also identified cases interpreting statutes related to the consumer protection statutes
at issue that limit their scope to products “used for personal, family, or household purposes.” MTD
at 10–13. These cases all hold that pharmaceutical products are not within the scope of those
statutes. Plaintiffs contend these cases are inapposite because the Consumer Product Safety Act
“carves out ‘drugs, devices, or cosmetics.’” Opp. at 13. But the logic is the same. These cases
address FDA-regulated medical devices not available to consumers except by prescription.


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allege providing post-suit notice of economic loss claims and offering—again post-suit—to

participate in a dispute settlement program, satisfies pre-suit statutory requirements to allege

personal injury claims. Opp. at 14. Not so. Nor is it a “fact question” whether facially deficient

post-suit letters (incorporated by reference in the PISAC) concerning economic loss claims

provide sufficient pre-suit notice of personal injury claims. Id.

       D.      Certain Plaintiffs Lack Statutory Standing to Sue.

       Plaintiffs in twelve states lack statutory standing to bring consumer protection claims.

Contrary to Plaintiffs’ assertions, Respironics did not waive its standing argument because such

argument arises explicitly from the “supplemental portions of the amended master complaint” that

“plead[ed]” for the first time “each relevant [consumer protection] statute in a separate count.”20

Opp. at 6.21 Plaintiffs’ argument that consumers who rented or used Recalled Devices are only

“hypothetical plaintiffs” contradicts the PISAC, which, in “summar[izing] . . . the claims brought

by all . . . [P]laintiffs,”22 alleges that “Plaintiffs are consumers” who “leased[] or used Recalled

Devices.” E.g., PISAC ¶¶ 651, 757 (emphasis added).

                                         CONCLUSION

       For all the foregoing reasons and those stated in Respironics’ moving brief, the

aforementioned claims in the PISAC should be dismissed in their entirety with prejudice.




20
   See also Hazzouri v. W. Pittston Borough, 416 F. Supp. 3d 405, 413 (M.D. Pa. 2019).
21
    Respironics’ statutory standing argument has not been waived—nor could it be—because it
relies on statutory language rather than caselaw. Opp. at 15. NetQuote, Inc. v. Byrd, 504 F. Supp.
2d 1126 (D. Colo. 2007), relied upon by Plaintiffs, Opp. at 15 n.15, does not suggest otherwise; it
analyzed business, not individual, standing under Colorado’s CPA. See id. at 1135.
22
    In re Allergan Biocell Textured Breast Implant Prods. Liab. Litig., 537 F. Supp. 3d 679, 720
(D.N.J. 2021) (describing function of a Master Complaint).


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Dated: April 24, 2024                 Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2024, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF system.


                                                   /s/ John P. Lavelle, Jr.
                                                   John P. Lavelle, Jr.
